     Case 3:20-cv-00579-LAB-WVG Document 77 Filed 03/01/23 PageID.2778 Page 1 of 2



1
2
3
4
5
6
7
8                              UNITED STATES DISTRICT COURT
9                            SOUTHERN DISTRICT OF CALIFORNIA
10
11         JASON BECK, et al.                      Case No.: 20cv579-LAB (WVG)
12                                   Plaintiffs,
                                                   ORDER OF DISMISSAL
13         v.
14         CAMP PENDLETON AND
           QUANTICO HOUSING, LLC, et al.
15
                                  Defendants.
16
17
18              On February 27, 2023, Plaintiffs Jason Beck, Kali Beck, Hailey Beck, and
19    minors S.B. and J.B., by and through their guardian ad litem, Rick Cunningham
20    (“Plaintiffs”), and Defendants Camp Pendleton & Quantico Housing LLC and LPC
21    Pendleton Quantico PM LP (“Defendants”), filed a Joint Motion and Request for
22    Order of Dismissal with Prejudice of Plaintiffs’ Complaint and Entire Action (“Joint
23    Motion”). (Dkt. 75).
24    //
25    //
26    //
27    //
28    //

                                                   1
                                                                                   20cv579
     Case 3:20-cv-00579-LAB-WVG Document 77 Filed 03/01/23 PageID.2779 Page 2 of 2



1           Under Rule 41 of the Federal Rules of Civil Procedure, an action may be
2     dismissed voluntarily by filing a stipulation of dismissal signed by all parties who
3     have appeared in the case. Fed. R. Civ. P. 41(a)(1)(A)(ii). For good cause shown,
4     the parties’ Joint Motion is GRANTED. This case is DISMISSED WITH
5     PREJUDICE in its entirety. Each party shall bear its own expenses, costs, and
6     attorneys’ fees.
7           IT IS SO ORDERED.
8         Dated: March 1, 2023
9
10                                           Honorable Larry Alan Burns
                                             United States District Judge
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                               2
                                                                                   20cv579
